Case 2:21-cv-06654-SVW-ADS Document 2 Filed 08/17/21 Page1of4 Page ID #:199

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2 CLERK, US. DISTRICT Cour |
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CENTRAL DISTRICT OF CALIF
5 By i DEPLNY
6
7
8 District Court of the United States
Central District of California
9
)
10 Kristen Joseph, )
)
1 Plaintiff,  } CASENO._2»2\-C.V-OUlyS4 SV WV
) ADS
12 VS. ) APPLICATION TO PROCEED
) INFORMA PAUPERIS
13 Superior Court of Los Angeles, et. al. )
)
14 Defendant. )
)
15
16 1 Yao QAM) declare, under penalty of perjury that I am the plaintiff
17 { in the above entitled case and that the information I offer throughout this application is true and
18 ft correct. I offer this application in support of my request to proceed without being required to
19 |] prepay the full amount of fees, costs or give security. I state that because of my poverty I am
20 jj unable to pay the costs of this action or give security, and that I believe that I am entitled to relief.
21 In support of this application, I provide the following information:
22 4 1. Are you presently employed? Yes L No___
23 # If your answer is "yes," state both your gross and net salary or wages per month, and give the
24 j| name and address of your employer:
25 }f Gross:_ yw Qnasioy Net: __22(%”
26 || Employer: 1042 onswaguaner — Hot of WV) wy Ale
27 | A) anda nil
* N
28 § If the answer is "no," state the date of last employment and the amount of the gross and net salary
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and wages per month which you received.

Bao”? 2

2. Have you received, within the past twelve (12) months, any money from any of the
following sources: fo
a. Business, Profession or Yes V_ No

self employment? LO
b. Yes

Income from stocks, bonds, __ No” _
or royalties?
Cc. Rent payments? Yes____—'No So
s_.._ No Yo

d. Pensions, annuities, or Ye

life insurance payments? 4,
e. Federal or State welfare payments, Yes_Y_ No

Social Security or other govern-
ment source?
If the answer is "yes" to any of the above, describe each source of money and state the amount

received from each.

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\ - /
Posd. et. 4 vol
3. Are you married? Yes___—No iv
Spouse's Full Name:
Spouse's Place of Employment: a

Spouse's Monthly Salary, Wages or Income:
Gross $ Net $

4, a. List amount you contribute teyour spouse's support:$

b. List the persons other than your spouse who are dependent upon you for support

a

and indicate how much you contribute toward their support. (NOTE: For minor

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children, list only their initials and ages. DO NOT INCLUDE THEIR NAMES.)
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wn t\ Below ay DO, D2) Lf

5. Do you own or are you buying a home? Yess No_” _
Estimated Market Value: $ Amount of Mortgage: $

6. Do you own an automobile? Yes No_
Make_ Jee Year 72\9—"_ Model__ Lito wi

Is it financed? Yes No res If so, Total due: $

Monthly Payment: $

7. Do you have a bank account? Yes y No (Do not include account numbers.)
Name(s) and address(es) of bank: _| SECU “
GR) SKF. 32 25 4420 aHanh'c are. “a aay,

Present balance(s): $_ — \\
Do you own any cash? Yes___ No x Amount: $

Do you have any other assets? (If "yes," provide a description of each asset and its estimated

market value.) Yes___ No X

8. What are your monthly expenses?

Rent: $_) JOO 7 Utilities: _((QO—

Food: $_ 300° Clothing:

Charge Accounts:

Name of Account Monthly Payment Total Owed on This Account
oe

a $
Zs 7
ZO $ $

9. Do you have any other debts? (List current obligations, indicating amounts and to whom

they are payable. Do not include account numbers.)

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10. Does the complaint which|you are seeking to file raise claims that have been presented in

other lawsuits? Yes No
Please list the case name(s) and humber(s) of the prior lawsuit(s), and the name of the court in

which they were filed.

I declare under the penalty of perjury that the foregoing is true and correct and understand that a

false statement herein may result in the dismissal of my claims.

CY 13/ a0 —

DATE SIGNAT OF APP. T

